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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF GEORGIA
                                AUGUSTA DIVISION




UNITED STATES OF AMERICA

V.                                            CR119-113

TIMOTHY JEREMY MYERS




                ORDER ON MOTION FOR LEAVE OF ABSENCE



      Jared T. Williams having made application to the Court for a leave of absence,

and it being evident from the application that the provisions of Local Rule 83.9 have

been complied with, and no objections having been received;

      IT IS HEREBY ORDERED THAT Jared T. Williams be granted leave of

absence for the following periods:    December 5, 2019; December 23, 2019

through December 27, 2019; January 16, 2020; February 4,2020; March 11,

2020;April 2,2020; May 7, 2020 and May 14,2020.

      SO ORDERED,this the             day of December, 2019.




                                       J. RANDAL HALL,CHIEF JUDGE
                                       UNIT^STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF GEORGIA
